 1   TIMOTHY S. LAFFREDI (WI SBN 1055133)
     Assistant United States Trustee
 2   TREVOR R. FEHR (SBN 316699)
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     Office of the United States Trustee
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 7   Attorneys for TRACY HOPE DAVIS
     United States Trustee for Region 17
 8
 9                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
      In re                                        )     Case No. 21-40363
12                                                 )
      CALIFORNIA-NEVADA METHODIST                  )     Chapter 11
13    HOMES,                                       )
                                                   )
14                                                 )
                                      Debtors.     )
15
16
                     NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
17
              PLEASE TAKE NOTICE that the undersigned attorney hereby appears under Fed. R.
18
19   Bankr. P. 9010 for Tracy Hope Davis, the United States Trustee for Region 17, and requests that

20   all required notices be directed to:
21                  Office of the United States Trustee
22                  Attn: Trevor R. Fehr
                    450 Golden Gate Avenue, 5th Floor, Suite #05-0153
23                  San Francisco, CA 94102
                    Email: Trevor.Fehr@usdoj.gov
24
25   Dated: March 16, 2021                                TRACY HOPE DAVIS
                                                          UNITED STATES TRUSTEE
26
                                                  By:     /s/ Trevor R. Fehr
27                                                        Attorney for United States Trustee
28
     Notice of Appearance and Request for Notice


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